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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA




                                                                     Civil Action No.   | :21   -Iv-22445-KMM-LFL
       DONALD J. TRUMP, the Forty-Fifth President
       of the United States, KELLY VICTORY,
       AUSTEN FLETCHER, AMERICAN
       CONSERVATIVE UNION, ANDREW
       BAGGIANI, MARYSE VERONICA JEAN-
       LOUIS, NAOMI WOLF AND FRANK
       VALENTINE, INDIVIDUALLY AND ON
       BEHALF OF THOSE SIMILARLY SITUATED,

                          Plaintiffs,

                    V


       YOUTUBE,LLC and SUNDAR PICHAI,

                         Defendants.




        DECLARATION IN SUPPORT OF PLAINTIFF'S MOTION FOR PRELIMINARY
                                INJUNCTION

                        I, Rafiya Ibrahim, declare   as   follows:

             1.         I am over the age of 18 years.

             2.         I am a Research Analyst      employed by Brosnan Risk Consultants, Ltd., and have

     been employed there since 2012.

             3.         Brosnan Risk Consultants, Ltd. was retained to verifu the accuracy, authenticity

     and source for each of the facts cited in   Plaintiff s Motion for Preliminary Injunction in the above-

     captioned matter.

            4.          I have personal knowledge of the matters set forth in this Declaration, and if called

    as a witness,   I could and would testifr under oath as follows.
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             5.       On August 23, 2021, I                   visited the following          website:

     h    /lv,rv'rw                                                                      a true   and

     accurate capture of which is annexed hereto as Exhibit A, and found this information contained

     therein: YouTube has an approximately seventy-six percent (76%) share of the online video market

     and approximately two   billion Subscribers.

            6.        On August 23, 2021, I                   visited the following          website:

     https://www.cnbc.com/202ll0lll2lsoogle-suspends-trumps-youtube-account-disables-

     comments.html, a true and accurate capture of which is annexed hereto as Exhibit    B, and found
     this information stated therein: Defendants banned Plaintiff from their platform.

            7.        On August 23, 2021, I                   visited the following          website:

     https://www.lifesitenews.com/news/youtube-suspends-conservative-network-after-streaming-

     trumps-cpac-speech/, a true and accurate capture of which is annexed hereto as Exhibit C, and

     found this information stated therein: In the last month, YouTube blocked videos of a speech

     Plaintiff delivered at the Conservative Political Action Conference ("CPAC").

            8.        On August 23, 2021, I                   visited the following          website:

    https://twitter.com/frankpallone/status/1346972626670006274?lang:en,        a true and accurate
    capture of which is annexed hereto as Exhibit D, and found this information stated therein: On

    January 6,2021, Rep.Frank Pallone, Jr., Chairman of the House Commerce Committee, tweeted

    that "Trump is inciting violence and spreading dangerous misinformation" and called on social

    media companies "to remove Trump from their platforms."

            9.        On August 23, 2021, I                  visited the following          websites:

    https:llv,rwwnc.cdc.govleidlarticlel2T12120-3139_articlq a true and accurate capture of which is

    annexed hereto as Exhibit E(i), https://www.reuters.com/article/us-health-coronavirus-white-



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     house-exclus/exclusive-white-house-working-with-facebook-and-twitter-to-tackle-anti-vaxxers­

     idUSKBN2AJ1SW, and a true and accurate capture of which is annexed hereto as Exhibit E(ii),
                                                                                      · -
     hit ://www.whitehouse.      v/briefow-room/ res -briefin /2021/07/15/                     - res -

     secretary-ien-psaki-and-surgeon-general-dr-vivek-h-murthy-july-15-2021/ a true and accurate

     capture of which is annexed hereto as Exhibit E(iii), and https://www.whitehouse.gov/briefing­

     room/press-briefings/202 l/07 / 16/press-briefing-by-press-secretary-i en-psaki-july-16-2021/, and

     a true and accurate capture of which is annexed hereto as Exhibit E(iv), and found this information

     stated therein: The Centers for Disease Control ("CDC") "partners" with social media companies

     including YouTube to remove COVID "misinformation." On February 20, 2021, a senior

     Administration official disclosed that the Administration was acting in "direct engagement" with

     "social media" companies to "get rid" of what the Administration sees as "misinformation and

     disinformation" online. On July 15 and 16, 2021, White House Press Secretary Jennifer Psaki

     stated that the Administration is acting to pressure social media companies to de-platform Users

     who disseminate what the Administration labels COVID misinformation.

             10.    On     August      23,     2021,       I   visited   the     following     website:

     http ://www.youtube.com/watch?v=Mnl br0MOFG4&t=13s, a true and accurate capture of which

    is annexed hereto as Exhibit F, and a true and accurate capture of which is annexed hereto as

    Exhibit F, and found this information stated therein: On or about April 18, 2021, Rep. Maxine

     Waters called for protesters to "stay on the street" and "get more confrontational" against law

    enforcement during the trial of Minneapolis police officer Derek Chauvin for the murder of George

    Floyd.

             11.   On      August      2 3,    2021,       I   visited   the     following     website:

    http ://www.youtub .com/watch? -jFEGOlR7KEo, a true and accurate capture of which is



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     annexed hereto as Exhibit G, and found this information stated therein:     In August of 2020, Rep.

     Ayanna Pressley said there "needs to be unrest in the streets."

               12. On August 23, 2021, I                         visited the following website:
            //www                                            a true and accurate     capture   of which   is

     annexed hereto as Exhibit H, and found this statement of fact     truly and accurately stated therein:

     On June 14,2018, Speaker of the House of Representatives Nancy Pelosi said, "I just don't even

     know why there aren't uprisings all over the country. Maybe there will be."

               13. On August 23, 202I, I                         visited the following website:
            /lv'rv'rw                                        a true and accurate    capture    of which   is

     annexed hereto as Exhibit     I, and found this information stated therein: On March 26,2019,Ptep.

     Ilhan Omar told Muslims in the United States to "raise hell and make people uncomfortable."

               14. On August 23, 2021, I                        visited the following website:
     https://www.youtube.com/Donaldtrump/about, a true and accurate capture of which is annexed

     hereto as Exhibit J, and found this information stated therein: Plaintiff established the Donald J.

     Trump YouTube channel in May of 2015 (Joined March 16,2015).

               15.      On August 23,2021,I visited Exhibit J, and found this statement of fact truly and

     accurately stated therein: After announcing his campaign for the presidential nomination of the

     Republican Party in June of 2015, Plaintiff used his YouTube channel to engage with the general

     public.

               16. On August 23, 202I, I                        visited the following             website:

     httns:// www rrsafodav com/storv /tech/news /2021 I 0 1 126lvoutube-ban-former-nresident-trumns-

     chnnnel -rerncin-qr rqnended / 426533600U a true and accurate capture    of which is annexed hereto

    as   Exhibit K, and found this information stated therein: When Defendants indefinitely suspended



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     the Donald J. Trump channelon January 26,2021, that channel had approximately 2.9 million (2.8

     million) subscribers.

              17. On August 23, 2027, I                         visited the following websites:
     https://www.cnn.com/2019/12l02ltech/youtube-trump-ads/index.html, a true and accurate capture

     of which is annexed hereto as Exhibit L(i), and https://www.wsj.com/articles/youtubes-assault-

     on-covid-accountabilitv- I 1 61 7921 149. a true and accurate capture of which is annexed hereto as

     Exhibit L(ii) and found this information stated therein: Defendants removed hundreds of Trump

     Campaign advertisements from YouTube for remarks made by Plaintiff related to COVID-I9,

     which YouTube censored on the grounds of falsity.

              18. On August 23, 2021, I            visited the following websites: www.msn.com/en-

     us/news/politics/youtube-ceo-on-removing-video-of-trump-making-false-covid- 19-claim/vi-

     BBlgWlhi, a true and       accurate capture   of which is   annexed hereto as Exhibit         M(i),   and

                                                              8-07                             a true and
     accurate capture of               which is         annexed hereto as                  Exhibit     M(ii),

     https://wwwjpeds.com/article/S0022-3476(20)31023-4/fulltext,          a true and accurate capture of

     which             is         annexed            hereto          as              Exhibit          M(iii):

     https://pediatrics.aappublications.org/content/pediatrics/early/2020l05/22lpeds.2020-

     004879.full.pdl a true and accurate capture of which is annexed hereto as Exhibit M(iv),

    https://www.acsh.org/news/2020111/18/covid-infection-fatalit)'-rates-sex-and-age-15163,           a    true

    and accurate capture of which is                    annexed hereto        as Exhibit M(v),             and

    http://www.remedypublications.com/open-access/children-are-safe-to-return-to-school-6330.pdf,

    a   true and accurate capture of which is annexed hereto as Exhibit   M(vi),   and found this information

    stated therein:   In August of 2020, YouTube censored a Fox News interview in which Plaintiff,



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     while acknowledging very rare instances of childhood      deaths from COVID, stated that schools

     should reopen in part because children overall are "almost immune" to the disease.

             19. On August 23, 202I, I                        visited the following websites:
     https://www.conservative.org/youtube-censors-cpacs-america-uncanceled-episode-removed-

     video-of-former-president-donald-j-trumps-major-class-action-against-big-tech/,      a true           and

     accurate capture of which is annexed hereto as Exhibit N(i), https://hillreporter.com/trumps-lies-

     get-american-conservative-union-banned-from-youtube-106625, a true and accurate capture of

     which is annexed hereto as Exhibit N(ii), and found this information stated therein: On or about

     July 9, 202I, YouTube removed an episode of the American Conservative Union's ("ACU")

     "America UnCanceled" program on the CPAC Now network.

             20. On August 23, 2021, I                        visited the following             websites:

    https://www.bbc.com/news/53559938, a true and accurate capture of which is annexed hereto                as


    Exhibit O(i). https://www.marketwatch.com/story/why-twitter-facebook-and-youtube-are-taking-

    down-that-hydroxychloroquine-video-and-suspending-accounts-including-donald-trump-ir-that-

    shared-it-2020-07-28. a true and accurate capture of which is annexed hereto as Exhibit O(ii),

    httos ://debateooliti cs.                be-deletes-trumo-video-for-savins-that-

                                                              .45422    a true and accurate capture          of

    which is annexed hereto as Exhibit O(iii), and http s //wrryw. henryford. com/news/2020
                                                          :                                   I 07 I hv   dr o -


    treatment-studlz, a true and accurate capture of which is annexed hereto as Exhibit O(iv), and found

    this information stated therein: The episode featured coverage of this lawsuit and also a statement

    by Plaintiff that "Doctors and medical groups have been barred from these platforms for posting

    about therapeutics such as hydroxychloroquine... now, most recent studies say fthe drug isl

    effective in combating the virus."



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            21.     On August 23, 2021, I visited Exhibit N(i) and Exhibit N(ii), and found this

     information stated therein: On or about July 11, 2021, YouTube removed the livestream video of

     the entirety of a major speech delivered by Plaintiff at CPAC.

            22.     On      August     23,    2021,        I   visited      the    following    websites:

     https://www.theguardian.com/us-news/2021 /jan/26/youtube-trump-ban- uspension, a true and

     accurate     capture     of     which      lS        annexed        hereto    as    Exhibit      P(i),

     http ://new . lashdot.org/storv/21/0 I /26/221226/youtub -extends-trumps-suspension-for-a­

     second-time, a true and accurate capture of which is annexed hereto as Exhibit P(ii), and

     https://www.cnbc.com/2021/01/19/youtube-extends-trump-suspension-for-another-week.html, a

     true and accurate capture of which is annexed hereto as Exhibit P(iii), and found this information

     stated therein: Defendants decided on January 26, 2021, to permanently suspend Plaintiffs

     Y ouTube channel.

            23.     On August 23, 2021, I visited Exhibit P(i), Exhibit K, Exhibit P(ii), and Exhibit

    P(iii), and found this information stated therein: Y ouTube stated, "In light of concerns about the

    ongoing potential for violence, the Donald J. Trump channel will remain suspended."

            24.     On August 23, 2021, I visited Exhibit P(iii) and found this information stated

    therein: This permanent suspension prevents Plaintiff from uploading new content and disables

    his 2.79 million subscribers from posting comments and thereby communicating with one another.

            25.     On      August     23,    2021,        I   visited       the   following       website:

    https://www.wsj.com/arlicles/no-trump-isnt-guilty-of-incitement-11610303966,          a    true    and

    accurate capture of which is annexed hereto as Exhibit Q, and found Plaintiffs remarks on January

    6, 2021.




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            26. On August 23, 2021, I                            visited the following            websites:

     https://www.eff.org/deeplinks/2017l06/attack-net-neutrality-attack-free-speech,        a true      and

     accurate capture of              which is annexed hereto as Exhibit R(i),                          and

     https://law.stanford.edu/courses/media-technology-and-the-first-amendment/,        a true and accurate

     capture of which is annexed hereto as Exhibit      R(ii), and found the following information stated

     therein: the Internet is "perhaps the most powerful mechanism available to a private citizen to

     make his or her voice heard"

            27. On August 23, 2021, I                             visited the following            website:

     https://www.washingtonpost.com/news/powerpost/paloma/the-technology-20212019104109|the-

     technology-202-lawmakers-plan-to-ratchet-up-pressure-on-tech-companies-content-moderation-

     practicesl5cabee50a7a0a475985bd372l, a true and accurate capture of which is annexed hereto as

     Exhibit S, and found this information stated therein: In April of 2079, representatives social media

     companies were summoned before the House Judiciary Committee. After that hearing,

     Congressman Cedric Richmond wamed social media companies that they had "better" restrict

    what he and other members of Congress deemed dangerous or harmful content or, "we're going

    to make [regulation] swift, we're going to make it strong, and we're going to hold them very

    accountable." Democrat Congressman and Chairman of the House Judiciary Committee Jenold

    Nadler also stated: "Let's see what happens by just pressuring them."

            28. On August 23, 2021, I                            visited the following websites:
    https://thehill.com/policy/technology/43 8652-pelosi-warns-its-a-new-era-for-regulating-big-tech,

    a true and       accurate capture        of which is       annexed hereto      as Exhibit T(i)      and

    https://thehill.com/polic)r/finance/overnights/438667-on-the-mone)z-cain-expected-to-withdraw-

    from-consideration-for-fed,   a   true and accurate capture of which is annexed hereto as Exhibit T(ii),



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     and found this information stated therein: On or about           April   10- I   7   , 2019, Speaker of the House

     Nancy Pelosi warned that a "new era" of regulating tech giants was coming and that Section230

     could be "in jeop ardy ." Speaker Pelosi further commented that "the era of self-regulation" in this

     country for big tech social media companies is "probably" over, and that "[w]hen we come to 230,

     you really get their attention . . . it is not out of the question that that could be removed" because

     "for the privilege of 230, there has to be a bigger sense of responsibility on it."

             29. On August 23, 202I, I                                visited the following                  websites:

     hffns'//\ rr^ v vnrrfrrhe cnm/urvrfnh?rr: IATPEDS0GT A         a true and accurate capture of which             rs


     annexed hereto as Exhibit U(i), and https ://www.axios.com/social-media-immunity-section-23 0-

     fl5ac071-32e9-4e33-81e6-4c7ebadaeale.hIml, a true and accurate capture of which is, annexed

     hereto as Exhibit      U(ii),   and found this information stated therein: In June       of 2019, Rep. Schiff told

     reporters that   "if   the social media companies can't exercise a proper standard of care when it comes

     to a whole variety of fraudulent or illicit content, then we have to think about whether that

     immunity still makes sense. These are not nascent industries or companies that are struggling for

     viability; they're now behemoths, and we need them to act responsibly."

            30. On August 23, 202I, I                                 visited the following websites:
     https://reason.com/2019/11/13/joe-biden-has-officially-joined-the-misguided-crusade-against-

     online-free-speech./. a true and accurate capture of which is annexed hereto as Exhibit V(i), and

          :llwww

     comm                                           a true and accurate capture       of which is annexed hereto    as


     Exhibit V(ii), and found this information stated therein: On or about November 11, 2019, now-

     President Biden stated publicly,          "I, for one, think we should    be considering taking away their




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     exemption [under Section    230.] In January of 2020, Biden announced his plans for revoking

     Section 230 for "Zuckerberg and other platforms" if they continued "propagating falsehoods."

             31. On August 23, 202I, I                           visited the following websites:
     httos://threader            t27288167043003597 5"        a true and accurate     capture   of which      is

     annexed hereto as Exhibit W(i), and https://www.pressgazette.co.uk/nancy-pelosi-social-media-

     bosses-have-utterl)'-failed-to-combat-covid-19-disinformation/, a true and accurate capture of

     which is annexed hereto as Exhibit W(ii), and found this information stated therein: In June of

     2020, Speaker Pelosi declared that "social media executives have utterly failed to stop the spread

     of disinformation on their platforms."     She then wamed that Congress and others "must send a

     message to social media executives: You     will   be held accountable for your misconduct."

             32. On August 23, 2021, I                           visited the following              websites:

     httns ://www.theverse. coml2020l7l29l2l33                    -hearin s-hi shl i shts-facehook-soosl e-

     amazon-apple-congress-testimony, a true and accurate capture          of which is annexed hereto as

     Exhibit            X(i),      and           https://www. congress. gov/event/ I 1 6th-congress/house-

     eventlLC65920ltext?s:5&r:23,     a   true and accurate capture of which is annexed hereto as Exhibit

     X(ii), and found this information stated therein: In July of 2020, the House Judiciary Committee

     questioned the CEOs of the largest Intemet platforms, Facebook, Twitter, and Google/YouTube.

     At those hearings, Democrat Congressman Jamie Raskin accused the social media companies of

     not taking strong enough action to block speech that he and other Democrat members of Congress

     deemed dangerous. See Exhibit X(ii). In the committee report, Defendants expressly referred to

     the failure of social media companies to curb such content as evidence of the lack of meaningful

     competition in their markets. See Exhibit X(ii).




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                   33. On August 23, 2021, I                                 visited the following                websites

      httns //annews. com/arti cl e/tech
              :                            n   ol o   gv- 50e69e921c6699a3edbd730c12292436.                a    true       and

      accurate capture of                      which is               annexed hereto as                  Exhibit          Y(i),

      httos ://i udiciarv. house. sov/news/                           aspx?DocumentlD:3429. a true and accurate

      capture of which is annexed hereto as Exhibit Y(ii), and found this information stated therein: The

     report issued by the Judiciary Committee in early October of 2020, specifically found that the

      social media companies had monopoly power in their markets and proposed breaking up those

     companies under either existing federal antitrust law or under proposed reforms thereto.

                   34. On August 23, 202I, I                                 visited the following                websites:

                   bcnews go .com/B r lsiness/wireSforv               soci al -media-si ants-testi fu -senate-hearin s-


     73433414,          a true and accurate           capture   of which is annexed hereto as Exhibit Z(r),
     https://www.cnbc.com/2 0Z0lI0l2Slfacebook-google-and-twitter-ceos-testifu-in-consress-over-

     section-230-live-updates.html, a true and accurate capture of which is annexed hereto as Exhibit

     Z(ii),       and https://www.c-span.org/video/?476686-1/social-media-content-moderation, a true and

     accurate capture of which is annexed hereto as Exhibit Z(iil),and found this statement of fact truly

     and accurately stated therein: In October of 2020, the Senate Commerce Committee held a hearing

     on the failure of social media companies to curb "misinformation" online, subpoenaing the CEOs

     of Facebook, Twitter, and Google to testifu. Democrat Congressmen threatened adverse legal

     consequences against the major social media platforms                    if they did not engage in "more       content

     moderation."

                  35.     On August 23, 2021,          I visited Exhibit Z(ii) and found this information              stated

     therein: At the October 28, 2020, hearing, Democrat Senators demanded that social media

     companies "commit" to censoring Plaintiff. During the hearing, Sen. Edward Markey said, "Mr.



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      Zuckerberg, can you commit that, if the President goes on Facebook and encourages violence after

      election results are announced, that you         will make sure your company's algorithms don't                 spread

     that content and you will immediately remove those messages?"

                 36. On August 23, 2021, I                                 visited the following                   websites:

     httns ://twi tter- com/sen bl rr m enf h a | /     | 321 5 5200 6 5 4 I I 522   57?   lanp: en -   a true and accurate
     capture of                which is               annexed hereto as                        Exhibit AA(i),              and

               :llurww                                                                                                 b

     tech-bad-behavior, a true and accurate capture of which is annexed hereto as Exhibit AA(ii), and

     found this information stated therein: Sen. Richard Blumenthal said, "Frankly, President Trump

     has broken all the nonns, and he has put on your platforms potentially dangerous and lethal

     misinformation and disinformation. I want to know whether you have a plan Facebook, Twitter,

     Google, a plan, if the President uses your platforms to say on the day of the election that there is

     rigging or fraud without any basis in evidence."

                 37. On August 23, 2021, I                                visited the following                    websites:

     https //www.rev. com/blo s/transcriots/mark-
           :                                                        bere-i ack-dorsey-testimony-transcript-senate-

     tech-hearing-november-17, a true and accurate capture of which is annexed hereto as Exhibit

     BB(i),      htfnc . //.r^r^rr nevffrr com/news/senate-commerce-to- hi o-fcnh-nhqncp-ic-.nmi.
                                        .                                                                       - a true and


     accurate capture of                      which is          annexed hereto as Exhibit BB(ii),
     https:llv,rww.facebook.comlwatch/?v:374538930427440, a true and accurate capture of which is

     annexed hereto as       Exhibit BB(iii), and found this information stated therein: On November 17,

     2020, at a Senate committee hearing Sen. Blumenthal stated:

                "Change must come to social media. The fact is we meet today in an unprecedented and
                precarious moment in American history. Daily, the President shocks our conscience and
                shakes the very foundations of our democracy using a powerful megaphone, social media.
                The President has used this microphone to spread vicious falsehoods and an apparent


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              attempt to overturn the will of voters. Every day, he posts new threats and conspiracy
              theories about mail-in ballots and voting machines, lies that contradict his own election
              security officials and his lawyers. He uses this megaphone potentially to block a peaceful
              transition of power. Now, Mr. Zuckerberg and Mr. Dorsey, you have built tenif,zing tools
              of persuasion and manipulation with power far exceeding the robber barons of the last
              Guilded [sic] Age."

              38. On August 23, 2027, I                             visited the following              website

                     wired.                                                         a true and accurate capture

     of which is annexed hereto as Exhibit CC, and found this information stated therein: At                   the

     November 17,2020 hearing, Sen. Blumenthal further stated:           "I   have urged, in fact, a breakup    of

     tech giants because they've misused their bigness and power. . . . And indeed Section 230 reform,

     meaningful reform, including even possible repeal in large part because their immunity is way too

     broad, and victims of their harms deserve a day in court."

              39. on August 23, 2027, I                            visited the following             websites:

                                                                           technolo             1




     technolosv-202- lawmakers-olan-to-ratchet-                        tech-como anies-content-moderation-

     nra cti ces/5 a nheei Oa7   aO n 47 5 985bd3   a true and accurate capture   of which is annexed hereto   as

     Exhibit DD, and found this information stated therein: On or about November 17,2020, President-

     elect Biden announced that Congressman Cedric Richmond, would be joining the White House in

     January of 2021to serve as a Senior Advisor to the President.

             40. On August 23, 2021, I                              visited the following             website:

                                                               S



     demanded?context:search&index:3, a true and accurate capture of which is annexed hereto                   as

     Exhibit EE, and found this information stated therein: On January 6,2021, Chairman of the House

     Commerce Committee, Rep. Frank Pallone, Jr., tweeted, "[e]nough is enough! Trump is inciting

     violence and spreading dangerous misinformation that is undermining our democracy and our way


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      of life. Social media continues to ampli$ his anti-democratic rhetoric. It's time for @ack and

      Mark Zuckerberg to remove Trump from their platforms." Similarly, Sen. Blumenthal                       said,

      "[d]espite repeated red flags and demands for fixes, these companies failed to act until well after

      blood and glass lay in the halls of the Capitol. Yesterday's events will renew and focus the need

      for Congress to reform Big Tech's privileges and obligations."

               41. On August 23, 2021, I                         visited the following                   websites:

      httns://kfor c om/news/washinqton -dc-bureau/lawmakers-urse-twitter-to-i     oi n -other-soci al -m edr a-


     platforms-suspend-trumps-account-indefinitelf, a true and accurate capture of which is annexed

     hereto as Exhibit FF(i), and http s //www. warner. senate. gov/pub lic/index.
                                            :                                        cf   m/202   |III   statement-

     of-u-s-sen -m ark-r-warn er-on -             -lendins-under-the-cares-act" a true and accurate capture

     of which is annexed hereto as Exhibit FF(ii), and found this information stated therein:                 Sen.

     Markey demanded that social media companies ban Plaintiff "for the safety of our country." On

     January   7,202I,   Sen. Mark Warner stated that Facebook's and      Twitter's suspension of Plaintiff

     was "both too late and not nearly enough" given "the President's sustained misuse of their

     platforms to sow discord and violence."

             42. On August 23, 2021, I                            visited the following                   website:

     https://slate.com/technoloey/2020l12lfacebook-antitrust-ftc-breakup-whatsapp-instagram-

     zuckerberg.html,    a   true and accurate capture of which is annexed hereto as Exhibit GG, and found

     this information stated therein: By early January 2027,the Federal Trade Commission and the U.S.

     Department of Justice were investigating social media companies for antitrust violations and had

     launched an antitrust action against Facebook, which Facebook CEO Mark Zuckerberg described

     as an "existential threat."




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             43. On August 23, 202I,                       I    visited the       following       website:

                                                               eases/ec-committee-amo unces-

     with-tech-ceos-on-the-misinformation-and, a true and accurate capture of which is annexed hereto

     as Exhibit HH, and found this information stated therein:        In February of   2021, the House

     Committee on Energy and Commerce summoned Big Tech CEOs to testifu at another hearing on

     the "misinformation and disinformation plaguing online platforms. In a joint public statement on

     February 18,2021, announcing the March hearing, the House committee chairs asserted: "These

     online platforms have allowed misinformation to spread, intensifuing national crises with real-life,

     grim consequences for public health and safety. This hearing will continue the Committee's work

     of   holding online platforms accountable for the growing rise            of   misinformation and

     disinformation".

             44. On August 23, 202I, I                         visited the following            websites:

     httns ://enersvcom merce-house. sov/comm i      -activitv/hearinss/hearins-on-disinformation-

     nation-social-medias-role-in-promoting, a true and accurate capture of which is annexed hereto as

     Exhibit II(i),          https://docs.house.gov/meetings/IF/IFl6/20210325/111407/HHRG-117-IF16-

     20210325-SD002.pdf, a true and accurate capture of which is annexed hereto as Exhibit II(ii),

                                 house        s/

     Opening%20Statement_Pallone*CAT-CPC_2021.3.25 O.pdf,             a true and accurate capture of
     which              is          annexed          hereto          as          Exhibit             Il(iii),

     https://energyqommerce.house.gov/sites/democrats.energycommerce.house.gov/files/documents/

                                     le CAT-CPC    2021.3.25     a true and accurate capture   of which is

     annexed hereto as Exhibit II(iv), and found this information stated therein: On March 25,202I,in




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     his opening statement for the House Energy and Commerce Committee hearing Chairman Pallone

     said:

             "Five years ago, . . . Facebook, Google, and Twitter were wamed about - but simply
             ignored - their platforms' role in spreading disinformation. Since then, the wamings have
             continued, but the problem has only gotten worse. . . . It is now painfully clear that neither
             the market nor public pressure will force these social media companies to take the
             aggressive action they need to take to eliminate disinformation and extremism from their
             platforms. And, therefore, it is time for Congress and this Committee to legislate and
             realign these companies' incentives to effectively deal with disinformation . . . . It's crucial
             to understand that these companies aren't just mere bystanders - they are playing an active
             role in the meteoric rise of disinformation and extremism. . . . The Committee is going to
             consider all these options so that we can finally align the interests of these companies with
             the interests of the public and hold the platforms, and their CEOs, accountable when they
             stray. The time for self-regulation is over. It is time we legislate to hold you (i.e., Mr.
             Zuckerberg, Mr. Pichai, and Mr. Dorsey) accountable."

             45. On August 23, 2021, I                          visited the following             websites:

     https://news.bloomberglaw.com/tech-and-telecom-law/house-to-confront-tech-ceos-over-online-

     spread-of-false-info, a true and accurate capture of which is annexed hereto as Exhibit JJ(i),

     https://www.klobuchar.senate.gov/public/index.cfml202112/senator-klobuchar-introduces-

     sweeping-bill-to-promote-competition-and-improve-antitrust-enforcement,          a true and    accurate

     capture of which is annexed hereto as Exhibit JJ(iD, and found this information stated therein: In

     an email sent ahead of the March 25 hearing, Consumer Protection and Commerce Committee

     Chair Jan Schakowsky (D-Ill.), wrote "this hearing is really a call to action. We need to make

     these companies more accountable to the American        people." Rep. Schakowsky added that this

     goal would be accomplished by her bill, the Online Consumer Protection Act, which would cut

     back social media companies' Section 230 immunity, provide for FTC enforcement, and allow

     consumer lawsuits. Sen. Amy Klobuchar, Chair of the Senate Judiciary antitrust committee, has

     introduced legislation that would enable the federal government to impose unprecedented, billion-

     dollar fines and liability on social media companies under federal antitrust law.



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             46.    On       August    23,    2021,        I   visited     the    following     website:



     accurate capture of which is annexed hereto as Exhibit KK, and found this information stated

     therein: On July 17, 2021, President Biden excoriated social media companies for carrying so­

     called COVID "misinformation" stated that they are "killing people" and demanded that they block

     it.

             47.    On August 23, 2021, I visited Exhibit N(i) and the following website:

     https://www.conservative.org/youtube-censor -cpacs-ameri a-uncanceled-episode-removed-
      .
           -of-former-pr ·        nald-j-trumps-major-class-action-against-big-tech/      a   true   and

     accurate capture of which is annexed hereto as Exhibit LL, and found this information stated

     therein: Defendant's censorship of Plaintiffs speech, including its censorship of his July of 2021

     CPAC speech announcing the instant lawsuit, was based on the putative ground that Plaintiff was

     disseminating COVID-related "misinformation."

            48.     On       August   23, · 2021,          I   visited    the    following    websites:

     https:// upp rt.google.com/youtube/answer/9891785?hl=en, a true and accurate capture of which

     is annexed hereto as Exhibit MM(i) htlps://wwwnc.cdc.gov/eid/article/27/2/20-3139 articl , a

     true and accurate capture of which is annexed hereto as Exhibit MM(ii), and

     http ://www.cdc.g v/vaccine /partner /download                      nfidently-2019.pdf, a true and

     accurate capture of which is annexed hereto as Exhibit MM(iii), and found this information stated

     therein: YouTube's COVID policy states that the platform will block any "content that contradicts

     ... local health authorities' guidance on: treatment, prevention, diagnosis, the CDC has publicly

     stated that it acts with social media partners" to "curb the spread of "clampdown" on so-called




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     "COVID misinformation." vaccine misinformation." transmission, social distancing and self­

     isolation guidelines, and the existence of COVID-19.

              49.        On August 23, 2021, I visited the following website:

              https://www.reuters.com/article/us-health-coronavirus-white-house-exclus/exclusive­

     white-house-working-with-facebook-and-twitter-to-tackle-anti-vaxxers-idUSKBN2AJ1SW, a

     true and accurate capture of which is annexed hereto as Exhibit NN, and found this information

     stated therein: On February 20, 2021, an Administration official disclosed that the White House

     had been conducting "direct engagement" with "social media" companies, specifically including

     Google, to "clamp down" on so-called "COVID-19 misinformation." The Administration official

     further stated: "Disinformation that causes vaccine hesitancy is going to be a huge obstacle to

     getting everyone vaccinated, and there are no larger players in that than the social media

     platforms. We are talking to them . . . so they understand the importance of misinformation and

     disinformation and how they can get rid of it quickly."

              50.        On    August      23,       2021,          visited    the    following     websites:

     https://www.youtube.com/watch?v=2jp10Jjh6No, a true and accurate capture of which is annexed

     hereto         as        Exhibit       OO(i),

     briefing /2021/07/15/press-bri fing-by-press-secretary-jen-p aki-and-smgeon-g neral-dr-vi.vek­

     h-murthy-july-15-2021/, a true and accurate capture of which is annexed hereto as Exhibit OO(ii),
                                                 ·
     and      htt s://www.whitehouse.                             ress-briefin s/2021/07/16/ ress-briefin -b -

     press-secretary-jen-psaki-july-16-2021/, a true and accurate capture of which is annexed hereto as

     Exhibit OO(iii), and found this information stated therein: On July 15, 2021, when White House

     Press Secretary Jennifer Psaki said "White House senior staff were engaging with 'social media

     platforms' to combat the spread of 'misinformation specifically on the pandemic"' and playing an



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     active role in "flagging" content deemed by the Administration to be "problematic." The next day,

     Psaki offered more details on the Administration's interaction with social media companies and

     stated that the Administration's goal was to have individuals who spread COVID misinformation

     "banned" from all social media platforms.

               51. On August 23, 2021, I                                visited the following            websites:

     https://support.google.com/youtube/answer/10835034?hl:en,               a   true and accurate capture of which

     is   annexed hereto        as Exhibit PP(i)     and            :llwww

     commitments/supporting-political-integrity/,          a true and accurate capture of which is annexed

     hereto as Exhibit PP(ii), and found this information stated therein: YouTube's policy states that           it

     will remove content, "that       advances false claims that widespread fraud, elrors, or glitches changed

     the outcome of any past U.S. presidential election."

               52. On August 23, 2021, I                                visited the following website:
     httns'/Arr\,rr\ / vnrrtr rhe cnrn/rvnfch    o esfLI rrc   T    a true and accurate capture of which         is

     annexed hereto as Exhibit QQ, and found this information stated therein: Former Secretary                  of
     State   Hillary Clinton stated that:

              "I believe he knows he's an illegitimate president. . . He knows, he knows that there were
              a bunch of different reasons why the election tumed out the way it did. . . I know that he
              knows that this wasn't on the level. I don't know that we'll know everything that happened,
              but clearly, we know a lot and we're learning more every day."

              53. On August 23, 2021, I                                 visited the following             website:

     https://www.youtube.com/watch?v:PSfAPr-C90c,                   a true and accurate capture that is annexed

     hereto as Exhibit RR, and found this information stated therein: Former Secretary of State Hillary

     Clinton stated that "Obviously, I can beat him again."

              54. On August 23, 2021, I                                 visited the following             website:

     httos ://www.voutube.com/        watch?v:-qlNl-z    JqO. a true and accurate capture of which is annexed


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     hereto as Exhibit SS and found this information stated therein: Former Secretary                of State Hillary

     Clinton stated that, "espionage attacks . . . come from the highest levels of the Kremlin" were

     "designed to influence" the 2016 election.

               55. On August 23, 2021, I                                  visited the following             websites:

     https://www.youtube.com/watch?v:0id4jaP7ZoM,                      a true and   accurate capture    of which     is

     annexed hereto            as Exhibit TT(i)             and                               st.

     politics/democratic-congressman-from-virginia-will-not-attend-

     inausuratio tl20    17 I 0 I I I 6   lb7e8e65 0-dc54- 11e6-acdf-14da832ae861      storv.html.   a true       and

     accurate capture     of which is annexed hereto          as   Exhibit TT(ii), and found this information stated

     therein: Rep. Don Beyer stated, "Yes,             I   treasure the peaceful transfer of power . . . Yes,   I will

     respect the constitutional prerogatives of the presidency. But             I will not be part of normalizing or

     legitimizing a man whose election may well have depended on the malicious foreign interference

     of Russia's leaders. .         .It    would be the height of hypocrisy forme to pretend to be part of this

     inaugural celebration."

               56. On August 23, 202I, I                                  visited the following             websites:

     httns://www .dnainfo.com/chi cartol) 0i70118/ro                   oarkl chicapo-con sress-trumn-inausuratron-

     bo)rcott-jan-schakowsky-feminist-womens-march/,                   a true and accurate    capture   of which     is

     annexed hereto as Exhibit UU(i) and https://www.cosmopolitan.com/politics/a8619658/wh)'-

     these-congress-members-did-not-attend-the-inauguration/,                a true and accurate capture   of which is

     annexed hereto as Exhibit            UU(ii), and found this information   stated therein: Rep. Jan Schakowsky

     stated,   "I   have decided to join the growing group of my colleagues who                 will not attend the
     inauguration in protest of a President who used bigotry, fear, and lies to win an election that was




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      tainted by foreign interference and voter suppression        and who intends to betray the interests   of
                                                              -
      the ordinary working people who put him in office."

               57. On August 23, 2021, I                           visited the following websites:
      https://www.lroutube.com/watch?v:AqZwxp5Gp5M,               a true and accurate capture of which       is

      annexed hereto as Exhibit     VV(i), and   https://thefederalistpapers.org/us/flashback-democrats-

      railed-voting-machines-admitted-can-hacked-votes-can-

      switched?ff soutce=Email&ff medium:PostBottomSharingButtons&ff campaign:websiteshari

     ngbuttons&flcontent:20l8-04-23, a true and accurate capture of which is annexed hereto                  as


     Exhibit VV(ii), and found this information stated therein: Rep. Adam Schiff stated that "Our

     voting machines are too vulnerable."

               58. On August 23, 202I, I                          visited the following websites:
     htjps.//iacksonlee.house.gov/media-center/press-releases/congresswoman-sheila-iackson-lee-

     joined-b)'-house-democrats-calls-upon,   a true and accurate capture     of which is annexed hereto as

     Exhibit ww(i), and https://www.sovinfo.gov/content/pke/CHRc-109hhrs.28627lhtmllcHRc-

     109hfug28627.htm, a true and accurate capture of which is annexed hereto as Exhibit WW(ii), and

     found this information stated therein: Rep. Sheila Jackson Lee stated, "Our resources have

     repeatedly demonstrated that ballot recording machines and other voting systems are susceptible

     to tampering."

               59. On August 23, 2021, I                           visited the following            website:

     httns //www. sovinfo. sov/content/nks/C HRG-
          :                                         11   5 h1ys.30295/html/CHRG-1     1   5hhre30295.htm.    a


     true and accurate capture of which is annexed hereto as Exhibit XX, and found this information

     stated   therein: Rep. Val Demings stated, "Even hackers with limited prior knowledge, tools, and

     resources are able to breach voting machines in a matter of minutes."



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                      60. On August 23, 202I, I                                 visited the following                 websites:

                               litico.com/     1201910311           den                                                        a

     true and accurate capture of which is annexed hereto as Exhibit YY(i),                                                 and

     h                                                                                                    -machine-

     manufacturer-on-security-weakness-posed-bv-remote-access, a true and accurate capture of which

     is annexed hereto as Exhibit YY(ii), and found this information stated therein: Sen. Ron Wyden

     stated, "The biggest seller of voting machines is doing something that violates cyber security 101

     . . . Directing that you install remote          access software, which would make a machine like that a

     magnet for fraudsters and hackers. . . . 43 percent of American voters use voting machines that

     researchers have found have serious security flaws, including back doors."

                      61. On August 23, 2027, I                                 visited the following                  website:

     http   s   :   //www. facebook. c om I w atcU ?v:5   3 I 08029 3 7 5 5 29 5 .   a true and accurate capture of which is

     annexed hereto as Exhibit ZZ, and found this information stated therein: Rep. Ted Lieu stated,

     "These voting machines can be hacked quite easily. . . The workers were able to easily hack into

     the elections voting machines. It was possible to switch votes. In a close presidential election,

     they just need to hack one swing state or maybe one or two, or maybe just a few counties in one

     swing state."

                     62. On August 23, 2021, I                                  visited the following                  website:

     https://theamericanreport.org/2021l04/26labsolute-interference-c)'bersecurity-experts-chinese-

     cvberwarfare-attacks-fl inoed-u-s-el ecti on -from -trump-to-biden-chinese-made-tcl-alcatel-phones-

     distributed-to-georgia-poll-managers-secretly-conrV,                   a true and accurate capture of which              is

     annexed hereto as Exhibit AAA, and found this information stated therein: Sen. Amy Klobuchar

     stated, "You could very easily hack into them. It makes                         it   seem   like all these states are doing



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     different things, but in fact, three companies are controlling that. . . I am very concerned that you

     could have a hack that finally went through."

                63. On August 23, 202T, I                         visited the following           websites:

     https://notthebee.com/article/enjoy-this-2-minute-compilation-of-democrats-including-vp-harris-

     snoutins-all-sorts-of-consniracv-theori    es-about- votins-machines-that-would- eet-you-labeled-an-

     extremist-on-the-riqht-and-kicke,   a   true and accurate capture of which is annexed hereto as Exhibit

     BBB(i), and https://rtrvw.c-span.org lvideol?446920- 1/iustice-homeland-security-officials-testifu-

     election-security, a true and accurate capture of which is annexed hereto as Exhibit BBB(ii), and

     found this information stated therein: Sen. Kamala Hanis stated, "There are a lot of states that are

     dealing with antiquated machines, right, which are vulnerable to being hacked" and          "I   actually

     held a demonstration for my colleagues here at the capital, um, where we brought in folks who

     before our eyes hacked election machines, um, those that are not, those that are being used in many

     states."

                64. On August 23, 2021, I                         visited the following               website:

                                                                                 G-I15          80           a

     true and accurate capture of which is annexed hereto as Exhibit CCC and found this information

     stated therein: Sen. Mark Wamer stated, "We know how vulnerable now all our systems were. We

     know, I know, hackathon that took place last year, where virtually every machine was broken into

     fairly quickly." YouTube's policies state that they prohibit content in contradiction of the

     standards promulgated by the World Health Organization        ("WHO"). Furthermore, they also state,

     in pertinent part, that the policies prohibit content that discourages people from seeking medical

     advice, guarantees a prevention method for COVID-19, or claims that dispute guidance regarding

     physical distancing to reduce transmission of COVID-19.



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              65. On August 23, 2021, I                                  visited the following            website:

      hftnq' //unrnlr wnr rfr r be. com/watch?v:DsCITNI TnNl\lfl      a true and accurate capture of which       rs


      annexed hereto as Exhibit DDD, and found this information stated therein: On or about September

      24,2020, when he asked if the covid vaccine is safe, New York Governor Andrew Cuomo stated,

      "Frankly,   I'm not going to trust the federal government's opinion. And I'm not going to
     recommend to New Yorkers based on the federal government's opinion."

              66. On August 23, 202I, I                                 visited the following             website:

     https://www.youtube.com/watch?v:40eZeXP)rJ0g,                   a true and accurate capture of which        is

     annexed hereto as Exhibit EEE, and found this information stated therein:                  In October 2020,

     Kamala Harris stated that     "If Donald Trump tells us to take fthe vaccine],       then I'm not taking it."

             67. On August 23, 2021, I                                  visited the following             website:

                              .com/watch            JVDl         a   true and accurate capture of which is annexed

     hereto as Exhibit FFF, and found this information stated therein: When asked whether she would

     get a vaccine   if it were released before   the 2020 election, Kamala Harris said,      "Well, I think that's

     gonna be an issue for all of us."

             68. On August 23,                      202T,        I      visited the following             website:

          ://www                                                     a true and accurate capture of which        is

     annexed hereto as Exhibit GGG, and found this information stated therein: President-elect Joe

     Biden stated,   "If   and when the vaccine comes, it's not likely to go through all the tests . . . and

     trials that are needed to be done."

             69. On August 23, 202I, I                                  visited the following             website:

     https://www.voutube.com/watch?v:3V_xv9cGFRo, a true and accurate capture                        of which is
     annexed hereto as Exhibit HHH, and found this information stated therein: President-elect Joe



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     Biden stated, "When we finally do, God willing, get a vaccine, who's gonna take the shot? Who's

     gonna take the shot? Are you gonna be the first one to say 'sign me up."'

              70. On August 23, 2027, I                                          visited the following                    website:

     https://www.youtube.com/watch?v:tTWwDlzG--Y, a true and accurate capture                                        of which is
     annexed hereto as Exhibit     III, and found this information               stated therein: President Joe Biden stated

     that "You're not going to get COVID if you have these vaccinations."

             71. On August 23, 2021, I                                           visited the following                   websites:

     https://www.)'outube.com/channel/UClXoTUDZvByw2ixzpQCufnA,                                     a   true and accurate capture

     of         which            is              annexed hereto                               as           Exhibit          JJJ(i),

                   vox.com/2020       I6   126 121 3                                                    -lives-matter-            a

     true and accurate capture of which is annexed hereto as Exhibit JJJ(ii),                                                 and

     httns://www.vox.              IIII     I 0 122223 57   9   I   caoitol-riot-con sressi        -ohvsician-memo-

     coronavirus-risk, a true and accurate capture of which is annexed hereto as Exhibit JJJ(iii), and

     found this information stated therein: "The effect of Black Lives Matter protests on coronavirus

     cases, explained     - Coronavirus cases are increasing, but Black Lives Matter protests may not be
     to blame. Here's why" on June 26,2020. "The attack on the Capitol may have also been a super

     spreader event   -   Lawmakers may have been exposed to the coronavirus during Wednesday's riot"

     onJanuary 10,2021.

             72. On August 23, 2021, I                                        visited          the following websites:
     hffnc'//rxnx^xr rrnr rfr rhe com/channel/UCP6H Gq6? cR CT-I{LJflrme---,'                  a true and accurate capture      of

     which            IS           annexed                          hereto           AS              Exhibit             KKK(i)



     not-behind-surees-coronavirus/3226033001/, a true and accurate capture of which is annexed



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      hereto as Exhibit KKK(ii), and h                                                                                                ovid-

      update-capitol-riot-surge-new-strain-chicago-schools/6599001002/,                                    a true and accurate capture     of
      which is annexed hereto as Exhibit KKK(iii), and found this information stated therein: USA

      Today published: "Coronavirus surges aren't linked to Black Lives Matter protests" on June 19,

      2020. "Wednesday's storming of the U.S. Capitol will likely be a 'surge event' for the coronavirus,

      said Dr. Robert Redfield, director of the Centers for Disease Control and Prevention" on January

     9,2027.

                  73. on August 23, 2027, I                                           viewed the following                      websites:):

     https //www. youtube. com/channel/UC
             :                                                 c@,                                             a true and accurate capture

     of which is         annexed hereto as Exhibit LLL(i), httns ://www. busi nessi                                      .com/black-lives-

                                                                                                  a true and accurate capture of
     which is annexed hereto as Exhibit LLL(ii), and httns://www businessinsider. com/canitol -ri ot-

     cnr tffpr{   -covid-19- cr rncrcnrcq   rl i n c-prranf-   qffi
                                                                      ^h
                                                                           ft        qlzcrc-?n)   1   -1   a true and accurate capture     of
     which is annexed hereto as Exhibit LLL(iii), and found this information stated therein: "Don't

     blame Black Lives Matterprotests forthe spike in coronavirus cases across the US" onJuly 17,

     2020. "The Capitol insurrection seems to have caused a super spreader event among lawmakers.

     Some Republicans refused to mask up" on January 13,2021.

                  74. on August 23, 2021, I                                            visited the following websites:
     https://www.youtube.com/channel/UCHd62-u v4DvJ8TCFtpi4GA,                                             a   true and accurate capture   of
     which is annexed hereto as Exhibit MMM(i), https://www.washingtonpost.com/health/protests-

                                                                S-                                    for-sure/2                       8-

     baf5-11ea-8cf5-9clb8d7f84c6-story.html,                          a true and accurate capture              of which is annexed hereto

     as Exhibit MMM(ii),                    and                 :llwww


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      coronavirus/, a true and accurate capture of which is annexed hereto as Exhibit MMM (iii), and

      found this information stated therein: "Protests probably didn't lead to coronavirus spikes, but it's

      hard to know for sure." June 30, 2020. "Storming of Capitol was textbook potential coronavirus

      super spreader, experts say" on January        8,202I.

             75. On August 23, 202I, I                                visited the following               websites:

      https://www.)'outube.com/user/forbes, a true and accurate capture of which is annexed hereto as

     Exhibit NNN(i),        https://www.forbes.com/sites/nicholasreimann/2020l07l05/researchers-say-

      protests-didnt-increase-covid-    1   9-spread -but-reoubl icans-are-sti   II   -blami   n   s-

      then/?sh:43fa16e139f2, a true and accurate capture of which is annexed hereto as Exhibit

     NNN(ii),      https://www.forbes,com/sites/sarahhansenl2}2ll0Ill0llawmakers-sheltering-during-

     capitol-riot-may-have-been-exposed-to-coronavirus/, a true and accurate capture                    of which is
     annexed hereto as Exhibit NNN          (iii), and found this information     stated therein: Forbes announced:

     "Research Determines Protests Did Not Cause Spike                  in Coronavirus Cases." July 5, 2020.
     "Lawmakers Sheltering During Capitol Riot May Have Been Exposed to Coronavirus" on January

     10,2027.

             76. On August 23, 202I, I                                visited the following               websites:

     https://www.youtube.com/user/cnn, a true and accurate capture of which is annexed hereto                      as


     Exhibit ooo(i),       https //www. cnn. cotu12 020 l 0 6 l24 lus/coronavirus-cases-protests-black-l ives-

     matter-trnd/index.html,   a   true and accurate capture of which is annexed hereto as Exhibit OOO(ii),

     https://www.cnn.com/2021l01/24lpolitics/capitol-police-riot-coronavirus/index.html,                 a true   and

     accurate capture of which is annexed hereto as Exhibit OOO(iii), and found this information stated

     therein: CNN reported: "Black Lives Matter protests have not led to a spike in coronavirus cases,




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      research says." June        24,2020.38 Capitol Police officers test positive for Covid-19 after Capitol

      riot," updated January 24,2021.

                77. On August 23, 202I, I                                    visited the following websites:
      https://www.)'outube.com/user/theverge, a true and accurate capture of which is annexed hereto as

      Exhibit PPP(i),         https://www.theverge.com/2020/6/3/21278340/protestors-coronavirus-spread-

      police-violence-health-racism, a true and accurate capture of which is annexed hereto as Exhibit

     PPP(ii),          and            https://www.thevqse.coml202ll1l19122239408lcapitol-riot-covid-cases-

     superspreader-arrests, a true and accurate capture of which is annexed hereto as Exhibit PPP(iiD,

     and found this information stated therein: From The Verge: "Blaming protesters for COVID-I9

     spread ignores the bigger threats to health" on June 3,2020.                "COVID-l9    cases in the Capitol are

     only the tip of the iceberg." January 19,202L

             78. On August 23, 2027, I                                       visited the following websites:
                                                                        s5       k7N       a true and accurate capture


     of which is annexed hereto as Exhibit QQQ(D, https://apnews.com/article/health-us-news-ap-top-

     news-virus-outbreak-oub          I   i   c-heal th -5   83dflb23ecc5c4b19803d320d0ebc.     a true and accurate
     capture of which is annexed hereto as Exhibit QQQ(ii), and https://www.usnews.com/news/health-

     news/articl   esl 202 I -0   l- I 0/oossible-vi              sure-for-lawmakers-shelterine-durine-riot.   a   true

     and accurate capture of which is annexed hereto as Exhibit QQQ(iii) and found this information

     stated therein: AP News:         "Little evidence that protests spread coronavirus in US" on July 1,2020.

     "Possible virus exposure for lawmakers sheltering during riot                   -   Lawmakers make have been

     exposed to someone testing positive for COVID-19 while they sheltered at an undisclosed location

     during the Capitol siege on Wednesday" on January I0,2021.




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                  79. On August 23, 2021, I                                         visited         the         following websites:
                                                      CK         UDHh-RYDsdxO I                           a true and accurate capture

      of which is annexed hereto as Exhibit RRR(i), hJtp s : //www. ws i                   .   co   m/art   ic Ie   s/re c ent - pro te sts - m ay -


     not-be-covid- 19-                       -hotspots-   1   I 59249 8020.        a true and accurate capture of which                            is

     annexed hereto as Exhibit RRR(ii), and https://www.wsj.com/articles/at-least-three-lawmakers-

     test-positive-for-covid- 19-after-capitol-attack-             1   I   610473977, a true and accurate capture of which

     is annexed hereto as Exhibit RRR(iii), and found this information stated therein: The Wall Street

     Journal: "Early Data Show No Uptick in Covid-l9 Transmission From Protest" on June 18,2020.

     "At Least Three Lawmakers Test Positive for Covid-                       19   After Capitol Attack" on January 12,2021.

                 80. On August 23, 2021, I                                         visited the following websites:
     https://www.youtube.com/channel/UCBi2mrWrNuyYlz4gbM6flJl                                       SO, a true and accurate capture

     of which is annexed hereto as Exhibit SSS(i), https://abcnews.go.com/US/minnesota-sees-rise-

     covid-19-cases-tied-protests/story?id:71393938, a true and accurate capture of which is annexed

     hereto as SSS(ii),                  and      httBs l//abcnews.go.com lHealtV capitol-hill-riot-prove-covid-                               1   9-

     superspreader-event/story?id:75134968,                   a true and accurate capture of which is annexed hereto

     as   Exhibit SSS(iiD, and found this information stated therein: ABC News: "Minnesota                                         sees no rise

     in COVID-l9 cases tied to protests: Health officials" on June 22,2020. "Capitol Hill riot could

     prove to be COVID-19 super spreader event, experts say" on January 9,2021.

                 81. On August 23, 2021, I                                         visited the following                              websites:

     https://www.)uoutube.com/channel/UCrp UISXtuYfpiqluWLDTLw,                                       a   true and accurate capture                of

     which is annexed hereto as Exhibit TTT(i), https://www.cnbc.com/2020l06/29lhouse-gop-leader-

     crr oopcf   c-rrrr   thout-evidence- thqt            -are-dri \/rno-rrn-anrnnql/rfrrc-nocec               html           a true          and

     accurate capture of                         which is          annexed hereto as Exhibit TTT(ii),


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      httos ://www. cnbc. com/202        1   I   0   1/09/covi d-k   iIIi    -nearly-3 000-in-us-cdc-warns-of-surse-event-

      from-capitol-riots.html, a true and accurate capture of which is annexed hereto as Exhibit TTT(iii),

     and found this information stated therein:                  CNBC: "House GOP leader suggests without evidence

     that protests are driving up coronavirus cases" on June 29,2020. "Covid killing nearly 3,000 in

     U.S. every day as CDC warns of 'surge event' from Capitol riots" on January 9,202I.

                82. On August 23, 2021, I                                           visited the following             websites:

     hffnc. //.lti.ro   nnnolo   com/file/d/1J ,,fnA wd2i6bRi1 ?ePoh\rlI-ItlI?rrct h1Y 1 L /rrierrr              a true      and

     accurate capture of                             which is               annexed hereto as Exhibit                 UUU(i),

     httns ://www .cnn.coml2020 I 06 I 0 5 lhea lth/h                                 -letter-orotests-coronavlrus-

     trnd/index.html, a true and accurate capture of which is annexed hereto as Exhibit UUU(ii), and

     https://www.uwmedicine.org/specialties/allerg)r-immunology,                            a true and    accurate capture    of
     which is annexed hereto as Exhibit UUU(iii), and found this information stated therein: In June of

     2020, One Thousand (1,000) health and medical professionals, including individuals from elite

     medical schools such as Boston University and Johns Hopkins University, penned a letter

     expressing concern about the risks associated with the spread of the virus during the protests                           of
     that summer. The letter suggested that the risks of spreading the virus should be weighed against

     the benefits of public assembly for important causes. Over sixty (60) of those signatories were

     associated with the University of Washington, and it has been reported that many of the signatories

     were members of the University of Washington's Department of Allergy and Immunology. Many

     other signatories were also associated with medical schools, including but not limited to the

     University of California San Francisco, the University of California Los Angeles, the University

     of California San Diego, the University of Colorado, Johns Hopkins University, Northwestern

     University, and Boston University.



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               83. On August 23, 2021, I visited                                              the         following       websites:

                                    com/articl                                                             a true and accurate
     capture of which is annexed hereto as Exhibit VVV(i), https://www.tampabay.com/news/florida-

     nol iti cs/? 0?   1 I   O4 / OQ / v ontr   rhe-rernnrres-rri den-n f-desantis-coronavirus-round tqhlc/         a true and
     accurate capture of                                     which is           annexed hereto                     as        Exhibit

     VVV(ii),:https://www.youtube.com/channelfuCi0gSPwnkMZ54X3YSbgLZMA/about,                                               a   true

     and accurate capture of which is annexed hereto                                                as Exhibit VVV(iii),
                                           com/channel/U                                      a true and accurate capture         of
     which                     IS                annexed            hereto           as             Exhibit             VVV(iv),

     httns //www.voutube com /ch
           :                           -           ann   e   C9wINPCLimTkVvJaOSPU            Ds. a          true    and     accurate

     capture of                        which is                 annexed hereto as                         Exhibit         VVV(v),

     https://www.youtube.com/channel/UCATNzbTbfeoMhNonZGZmrhA,                                           a true and         accurate

     capture of                        which is                 annexed hereto              as            Exhibit       VVV(vi),

                              utube.com/channel/UC                                                         a true and       accurate

     capture of                        which is                annexed hereto as                         Exhibit        VVV(vii),

     https://www.)routube.com/user/UClAGeffenSOM,                            a true and accurate capture of which                 is

     annexed hereto as Exhibit                  VVV(viii),          /www            .com/user/NtIFe                     a   true and

     accurate capture                      of which is annexed hereto as Exhibit VVV(ix),                                       and

     https://www.)zoutube.com/channel/UCovnxsKJ6MQdpdDRhyZvwdw,                                     a   true and accurate capture

     of which is annexed hereto as Exhibit VVV(x), and found this information stated therein: Dr. Scott

     Atlas, of the Hoover Institute, gave a June 2020 a talk discussing the effects and merits of the then

     considerable restrictions put in place to combat the virus that was removed by the Defendants in

     September 2020, a few weeks after Dr. Atlas had been appointed a special advisor to Plaintiff



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      President Trump. Similarly,   in April 2021, the Defendants removed a video wherein Florida

      Governor Ron DeSantis engaged in a conversation with Dr. Atlas, as well as Dr. Martin Kulldorff

     of Harvard University, Dr. Sunetra Gupta of Oxford University, and Dr. Jay Bhattacharya of

      Stanford Medical School.

             84. On August 23, 202I, I                       visited the following           websites:

     https://www.youtube.com/watch?v:87u2       atahP8, a true and accurate capture of which is annexed

     hereto as Exhibit WWW(i), https://www.youtube.com/watch?v:KKzSJzqnsuU,                a true and
     accurate capture of            which is annexed hereto as Exhibit                      WWW(ii),

     https://www.)'outube.com/watch?v:nnt0XvM3blo, a true and accurate capture            of which   is

     annexed hereto as Exhibit WWW(iiD, https://www.deccanherald.com/content/640804/snoop-

     dogg-stands-over-trumps.html, a true and accurate capture of which is annexed hereto as Exhibit

     WWW(iv), https://www.)routube.com/watch?v:3fsG5t)'xRjw,         a true and accurate capture of

     which is annexed hereto as Exhibit WWW(v),          llv'rww

     a true and accurate         capture   of which is   annexed hereto      as Exhibit WWW(vi),
     https://www.youtube.com/watch?v:tYshlG4B92Y,         a true and   accurate capture   of which is
     annexed hereto as Exhibit   WWW(vii),                                   ?v:ZzXS8r4S         a true


     and   accurate capture       of which is        annexed hereto       as Exhibit      WWW(viii),

     https://www.)routube.com/watch?v:ClpPWiyilqQ,        a true and   accurate capture   of which   is

     annexed hereto as Exhibit WWW(ix), https://www.youtube.com/watch?v:5H1wQwlVMWY, a

     true and accurate capture of which is annexed hereto as Exhibit                        WWW(x),

     https://www.)routube.com/watch?v:ZYAe6-JlT6s,       a true and accurate    capture   of which is
     annexed                hereto                as                Exhibit                WWW(xi),

     https://twitter.com/KamalaHamis/statusll267555018128965643, a true and accurate capture of



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      which         is       annexed hereto                      as      Exhibit           WWW(xii),        and

      httos ://www. voutube. com/watch ?v:x8inOZ750-k. atrue and accurate capture of which is annexed

      hereto as Exhibit WWW(xiii), and found this information stated therein: On or about January 22,

      2077, Madonna, stated that she has, "thought an awful lot about blowing up the White House." In

      2077, Rep. Maxine Waters stated that she would, "go and take Trump out tonight." In20l7, Kathy

      Griffin held up a replica of Plaintiff Donald   J.   Trump's severed head. In   a   music video from March

     of 2017, Snoop Dogg shot     a   clown version of Donald Trump. In November of 2017, Snoop Dogg

     featured an album cover that depicted the image of a corpse with a tag on the foot that said Trump.

     On or about June 14, 2018, Rep. Nancy Pelosi stated, "I just don't even know why there aren't

     uprising all over the country. On or about June23,2018, Rep. Maxine Waters urged people to

     "create a crowd, and you push back on them, and you tell them they are not welcome," when they

     see members of the   Trump Administration in restaurants, department stores, or gas stations. On or

     about July 25,2018, Sen. Corey Booker, urged people to "go to the Hill today, please, get up in

     the face of some Congresspeople." On or about October 9,2018, Former Secretary of State             Hillary

     Clinton stated that "You cannot be civil with a political party that wants to destroy what you stand

     for, what you care about." On or about Jiuly 23, 2019, Sen. Corey Booker stated that, "my

     testosterone sometimes makes me want to feel like punching him [Trump]." On or about August

      23,2079,Rep. Nancy Pelosi stated that, "you have to be ready to throw a punch for the children."

     On or about March 4,2020, Sen. Charles Schumer stated that           "I want to tell you, Gorsuch. I want

     to tell you, Kavanaugh. You have released the whirlwind, and you        will pay the price."   Sen. Kamala

     Harris encouraged people to donate to an online platform that would assist in the release of those

     charged with criminal offenses in Minnesota.




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               85. On August 23, 2021, I                                            visited the following websites:
                                                                                                              19-

      dead/?sh:l56c6abc4de4, a true and accurate capture                            of which is    annexed hereto as Exhibit

     xxx(i), httn s:ll nvnosf   .   com   l)   O)   OI   06 I OR Imore-than-700-offi cers-i n i ured-i n - seorse-fl   ovd-nrotests-

     across-us/,    a true and       accurate capture               of which is       annexed hereto as Exhibit XXX(ii),

     https://apnews.com/article/american-protests-us-news-arrests-minnesota-burglary-

     bb2404f9b13c8b53b94c73f818f6a0b7,                         a true and accurate capture      ofwhich is annexed hereto as

     Exhibit XXX(iii):              httos://www.axios.com/riots-cost-property-damage-276c9bcc-a455-4067-

     b06a-66f9db4cea9c.html, a true and accurate capture                            of which is annexed hereto as Exhibit
     XXX(iv): https://www.usatoday.com/story/news/factcheck/2020109/01/fact-check-kamala-harris-

     said-protests-arent-going-stop/5678687002/,                      a true and accurate capture of which is annexed

     hereto   as XXX(v), and found this information stated therein: On or around June 18, 2020,the

     Black Lives Matter riots had dramatically increased in size and scope with at least 19 deaths, over

     Seven Hundred (700) injured police officers, over Ten Thousand (10,000) arrests, and over

     $   1,000,000,000.00 in insurance claims for damage (the largest such claim in United States history);

     nevertheless, then Sen. Kamala Harris stated that the protests are, "not gonna stop before Election

     Day in November, and they're not gonna stop after Election Day. Everyone should take note of

     that, on both levels, that they're not going to let up                  -   and they should   not. And we should not[.]"

               86. On August 23, 2021, I                                           visited the following websites:
     https://www.youtube.com/watch?v:jFEGOlRTKEo, a true and accurate capture                                          of which   is

     annexed hereto as Exhibit YYY(i), and https ://www.youtube. com/watch?v:pxi 2cLFJVfc. a true

     and accurate capture of which is annexed hereto as YYY(ii), and found this information stated

     therein: Regarding Vice President Harris' urging of followers to contribute to the Minnesota



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      Freedom Fund, Defendant YouTube currently places a label titled "Independent Fact Check"

      which states that for the claim, "Kamala Harris helped violent rioters in Minnesota get out ofjail

     to do more damage" users are provided the response,               "Rating: Needs context." This     is    an

     unsolicited label, placed by YouTube when a user simply puts the inquiry "Kamala Harris

     Minnesota Freedom Fund" in the YouTube search bar.

                87. On August 23, 2021, I                            visited the following            website:

     https://www.factcheck.org/2020l02ltrump-has-condemned-white-supremacists/,                a true        and

     accurate capture of which is annexed hereto as ZZZ, and found this information stated therein:

     This is particularly noteworthy when compared to Defendant YouTube's search results when a

     User enters the phrase "Donald Trump fails to condemn white supremacists." This claim was

     specifically made by President Joe Biden, and Factcheck.org declared the claim to be incorrect

     and wrongly made. Nevertheless, despite this specific fact check claim, Defendant, unsurprisingly,

     fail to provide   a   warning label for Plaintiff as it does for Vice President Kamala Harris.

                88. On August 23, 2021, I                           visited the following websites:
          :ll                 articlel

     wire-b57315d97dd2146c4a89b4636faa7b70,              a true and accurate capture of which is annexed

     hereto as Exhibit AAAA(i), https://www.opb.org/news/article/portland-federal-courthouse-fence-

     taxpayer-cost/, a true and accurate capture         of which is annexed hereto as Exhibit AAAA(ii),

     https://pamplinmedia.com/ptl9-news/481167-388210-porlland-protest-amests-top-out-at-nearly-

     1000-for-now, a true and accurate capture of which is annexed hereto as Exhibit AAAA(iii),

     https://www.newsweek.com/portland-protesters-damage-cost-federal-buildings-1566821,                 a   true

     and accurate capture of which is annexed hereto as Exhibit AAAA(iv),                                    and

     httns ://www.onb.orslaft iclel2021 I 01   I12   I         vandalize-portlands-federal-courthouse-



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      again/, a true and accurate capture of which is annexed hereto as Exhibit          AAAA(v), and found this

      information stated therein: In 2020 the city of Portland, Oregon, witnessed over 100 nights of

      protests, marked by arrests, vandalism, and even the death of a supporter of President Donald

      Trump. The Mark O. Hatfield federal courthouse was a central focus of these protests; the intensity

      of the protests required the installation of a $200,000.00 security fence. By September2020,nearly

      One Thousand (1,000) people had been arrested. Estimates to repair the damage done to the

     courthouse and nearby federal buildings in Portland have run to just over $2,000,000.00. The

     protests were not limited    to 2020;just a few days after the security fence around the federal

     courthouse was removed in March of 2021, protestors returned, smashing windows and spray-

     painting parts of the stone fagade. Despite the fact that Defendant YouTube's policies state that it

     prohibits the use of the platform to encourage parties to go to a particular place to commit violence,

     Defendant permitted its platform to be used to livestream the violence at the courthouse.

             89. On August 23, 2021, I                               visited the following websites:
     httns://www vox.com/recodel202017l2l l21332653lnortland-oreson-nrotests-feds-dhs-

                            lid:IwAR1          MzriaPF            2.i12


     Y3TP7jM, a true and accurate capture         of which is             annexed hereto as Exhibit BBBB(i),

     https://www.voutube.com/c/Anteroslive/featured,         a   true and accurate capture of which is annexed

     hereto as Exhibit BBBB(ii),                    .koin.                                               nl

                                                       5202          a true and accurate capture of which is

     annexed hereto as Exhibit   BBBB(iii) and found this information          stated   therein: By late July, there

     had been over hfty (50) consecutive nights of protests in Portland. One channel on Defendant's

     platform was actively engaged in providing livestreamed footage of the nightly protests. This

     channel provided livestreams of these protests near the federal courthouse well into the fall                of


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     2020. By the   fall of 2020, there were over One Hundred (100) consecutive nights of protests

     resulting in arrests, the use of Molotov cocktails, and the frequent deployment of crowd dispersal

     devices such as tear gas.

             90. On August 23, 2027, I                         visited the following              websites:

     https://www.)'outube.com/watch?v:1S-QlihTjXk, a true and accurate capture of which is annexed

     hereto as Exhibit CCCC(i), https://www.nationalreview.com/news/youtube-removes-anti-blm-

     livestream-of-heather-mac-donald-citing-unspecified-violation-of-community-guidelines/,         a true

     and accurate capture of which is annexed hereto as Exhibit CCCC(ii),                              and

                          e              ans          I             a   true and accurate capture of which

     is annexed hereto as Exhibit CCCC(iii) and found this information stated therein: In July of 2020,

     Heather MacDonald, a fellow at the Manhattan Institute, delivered a speech on police use of force

     across the Nation that was posted to YouTube by the Center for the American Experiment, a        think

     tank located in Minnesota. Shortly after the speech was posted, it was removed from the platform.

     After an appeal from the Center for the American Experiment, it was re-posted, but this time it

     was age-restricted for sensitive content. YouTube's standards for age-restricted content center

     content that could lead to minors injuring themselves, adult themes, and vulgar language. Ms.

     McDonald's speech involved her analysis of criminal justice statistics and the use of force by the

     police. It was delivered via zoom and accompanied by numerous graphs and charts. In addition

     to Ms. MacDonald's speech, other videos discussing the use of force by the police and gun violence

     put forward by conservative-leaning entities have been age-gated by YouTube.

            9I.     On August 23, 2021, I                      visited the following               website:

     https://www.youtube.com/watch?v:zWoy0l-4iok,         a true and accurate capture   of which is annexed

     hereto as Exhibit DDDD, and found this information stated therein: A video posted on the Black



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     Lives Matter YouTube channel discussed defunding the police. During the presentation, reference

     was made to the volume of incidents involving the use of force by the police. The video contained

     the statement that the police are "out of control." Defendant has not age-gated or restricted access

     to the video..

             I declare under penalty of perjury under the laws of the United   States of America that the

             foregoing is true and correct




     Executed on this 23rd day of August 202I, in Greenwich, Connecticut.




                                                          fi"u"J\.,-^\.;
                                                           RafilaYbrahim




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